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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA (A DlLyYr 2A10

Criminal No.

Vv. .
(Threats Transmitted by Interstate
SCOTT ELI HARRIS, : Communication, 18 U.S.C. §875(c))
Defendant. :
0000000 *
INDICTMENT

The Grand Jury for the District of Maryland charges that:
COUNT ONE

(Interstate Communication with Threat to Injure, 18 U.S.C § 875)

On or about July 12, 2021, in the District of Maryland and elsewhere, the defendant,
SCOTT ELI HARRIS,

knowingly and willfully transmitted in interstate commerce a threat to injure the person of
another. Specifically, Defendant Harris, while located in the State of Texas, sent a
communication from his cellular phone to Dr. L.W., who was located in the State of Maryland.
The message to Dr. L.W., who had been a vocal proponent of the COVID-19 vaccine, included
the following threat:

Fuck you in every Chinese hole you have.

Never going to take your wonder drug. My 12

gauge promises I won't.

Take your idea of making my like [sic] difficult and shov [sic]

it up your dock hole.

I’m a 5th generation U.S. Army veteran and a
sniper.. I can’t wait for the shooting to start..

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I hope you are ready..

Cunt.. where’s your fucking office?

“A onathan F. Lenzner aug, [f/

“Acting United States we

18 U.S.C. § 875(c).

 

 

 

A.ERITE.BILL: 22 _

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